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                       UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION


IN RE:                                           CASE NO 19-30022-KKS

TEENA RUTH MCKINNEY                              CHAPTER: 7
aka TEENA R. MCKINNEY


            DEBTORS.
__________________________/

                          MOTION FOR IN REM RELIEF FROM
                                AUTOMATIC STAY

          NOTICE OF OPPORTUNITY TO OBJECT AND FOR HEARING
      PURSUANT TO LOCAL RULE 2002-2, THE COURT WILL CONSIDER THE
RELIEF REQUESTED IN THIS PAPER WITHOUT FURTHER NOTICE OR
HEARING UNLESS A PARTY IN INTEREST FILES A RESPONSE WITHIN
TWENTY-ONE (21) DAYS FROM THE DATE SET FORTH ON THE PROOF OF
SERVICE PLUS AN ADDITIONAL THREE DAYS FOR SERVICE IF ANY PARTY
WAS SERVED BY U.S. MAIL, OR SUCH OTHER PERIOD AS MAY BE SPECIFIED IN
FED. R. BANKR. P. 9006(F).
      IF YOU OBJECT TO THE RELIEF REQUESTED IN THIS PAPER, YOU MUST
FILE AN OBJECTION OR RESPONSE ELECTRONICALLY WITH THE CLERK OF
THE COURT OR BY MAIL AT 110 E. PARK AVENUE, SUITE 100, TALLAHASSEE,
FL, 32301 AND SERVE A COPY ON THE MOVANT’S ATTORNEY, JEFFREY
FRASER, ESQ, ALBERTELLI LAW, PO BOX 23028, TAMPA, FL 33623, AND ANY
OTHER APPROPRIATE PERSON WITHIN THE TIME ALLOWED. IF YOU FILE
AND SERVE A RESPONSE WITHIN THE TIME PERMITTED, THE COURT WILL
EITHER SCHEDULE AND NOTIFY YOU OF A HEARING OR CONSIDER THE
RESPONSE AND GRANT OR DENY THE RELIEF REQUESTED WITHOUT A
HEARING.
      IF YOU DO NOT FILE A RESPONSE WITHIN THE TIME PERMITTED, THE
COURT WILL CONSIDER THAT YOU DO NOT OPPOSE THE RELIEF REQUESTED
IN THE PAPER, WILL PROCEED TO CONSIDER THE PAPER WITHOUT FURTHER
NOTICE OR HEARING, AND MAY GRANT THE RELIEF REQUESTED.

       COMES NOW, Wells Fargo Bank N.A (“Movant”), by and through its undersigned
counsel, and moves for relief from the automatic stay, pursuant to 11 USC §362(d). In support;
Movant respectfully states the following:
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       1.      On January 8, 2019 the Debtor filed for relief under Chapter 7 of the United
States Bankruptcy Code.
       2.      Jurisdiction in this cause is granted to the Court, pursuant to 28 U.S.C. §1334, 11
U.S.C. §362 and all other applicable rules and statutes affecting the jurisdiction of the Court
generally.
       3.      On October 25, 2016, Teena Ruth McKinney executed and delivered a
promissory note and mortgage securing payment of the note to University Lending Group, LLC.
True and correct copies of the mortgage and note are attached as Composite Exhibit “A.
       4.      The mortgage secures the following real property located in Okaloosa County,
Florida:




      AKA 124 Palmetto Drive, Crestview, Florida 32539 (the “Subject Property”)
       5.      The value of the collateral – pursuant to the Schedule D – is $109,397.00.
       6.      The Debtor is in default. The contractual due date is August 1, 2018. As of
February 13, 2019 the unpaid principal balance due as is in the amount of $117,266.27, interest
in the amount of $2,631.08, for a combined total due of $119,897.35.
       7.      Based upon the forgoing; the value of the above collateral is insufficient to
provide adequate protection to Movant. It would be inequitable to permit the Debtors to retain
the collateral, as there is no equity in the collateral and it is not necessary for an effective
reorganization.
       8.      Pursuant to the Debtor’s Statement of Intention; the Debtor has manifested the
desire to surrender the Subject Property. Presumably coinciding with such intent, the Chapter 7
Trustee has filed the Motion to Sell the Trustee’s right, title, and interest to the Subject Property
– subject to all liens and encumbrances.
       9.      The Trustee’s Motion to Sell does not impact or otherwise alter Movant’s grounds
for the relief requested herein.
       10.     The Affidavit in Support of the Motion for Relief from Stay is attached as
Composite Exhibit “A.”
       11.     If Movant is not permitted to enforce its security interest in the collateral or
provided with adequate protection, it will suffer irreparable injury, loss and damage.
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         12.   Once the stay is terminated, Debtor will have minimal motivation to insure,
preserve, or protect the collateral. Therefore, Movant requests that the Court waive the 14-day
stay imposed by Fed. R. Bankr. P. 4001(a)(3).
         13.   Movant requests this Court to allow future communication with the Debtor in
order to offer and provide information regarding loss mitigation options, including, but not
limited to, forbearance, loan modification, refinance, and deed in lieu of foreclosure. Movant
acknowledges that such communications shall be limited, and it shall not enforce or threaten to
enforce any personal liability against the Debtor that is discharged in this bankruptcy.
         WHEREFORE, Wells Fargo Bank N.A. Movant respectfully requests the Court enter an
order:
               a.       termination of the automatic stay;
               b.      permitting Movant to take any and all steps necessary to exercise any and
all rights it may have in the collateral described herein;
               c.      allowing Movant to gain possession of said collateral;
               d.      waiving the 14-day stay under Fed. R. Bankr. P. 4001(a)(3), and
               e.      granting such further relief as the Court deems just and appropriate.




                                                       /s/ Jeffrey S. Fraser, Esq.
                                               Jeffrey S. Fraser
                                               Albertelli Law
                                               Florida Bar No.: 0085894




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                                 CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that a true and correct copy of the foregoing was provided via
electronic and/or Regular U.S. Mail to the parties listed on the attached service list, this 22nd day
of February, 2019.
                                                      Jeffrey S. Fraser, Esq.
                                                      Albertelli Law
                                                      Attorney for Secured Creditor
                                                      PO Box 23028
                                                      Tampa, FL 33623
                                                      Telephone: (813) 221-4743ext. 2499
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                                                      Bkfl@albertellilaw.com
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                                                      By:     /s/ Jeffrey S. Fraser, Esq.
                                                      Jeffrey S. Fraser
                                                      Florida Bar No.: 0085894

SERVICE LIST
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